      Case 2:01-cr-00106-MHT-SRW Document 495 Filed 09/15/05 Page 1 of 3




                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE MIDDLE DISTRICT OF ALABAMA
                                  NORTHERN DIVISION

UNITED STATES OF AMERICA,                     )
                                              )
              v.                              )       CR. NO. 2:01-cr-00106-T
                                              )            (WO)
DWIGHT FAULK                                  )
and LINDA WILLIAMSON                          )
a/k/a Linda West.                             )

              ORDER OF RELEASE OF PROPOSED SUBSTITUTE PROPERTY

       This      cause     coming      on     to    be     heard         by    stipulation       and

agreement by the parties, a copy of which is marked Exhibit

A,     attached       hereto      and       specifically        incorporated            in     this

Order,      it      is     hereby          ORDERED,      ADJUDGED             and    DECREED     as

follows:

       1.     The        Petition           for     Substitution               of      Substitute

Property      filed       by    the    United      States      of    America,          along   with

all     responses         and      petitions          filed         by        Intervenors        and

Innocent      Third      Parties,      are    hereby     dismissed             with    prejudice.

       2.     The     real      property      as    more      specifically            defined    at

paragraphs       4.2(a)        through      4(c)   of    the    original            Indictment   in

this     case,      which       was        subsequently         incorporated            into     the

Government’s          Motion          to     Substitute         Property,             hereinafter
      Case 2:01-cr-00106-MHT-SRW Document 495 Filed 09/15/05 Page 2 of 3




referred      to     as    the       “Substitute             Real    Property”           is           hereby

released     from    that        certain        money        judgment       in    the       amount       of

One    Million,      One       Hundred      Six        Thousand,      Six       Hundred           Twenty-

Two    and   60/100       Dollars          ($1,106,622.60)           rendered          on    or       about

January 29, 2002.

       3.     The United States is hereby ordered to release said

Substitute         Real    Property         from       any    lien    or        lis    pendens,         and

to    otherwise      unencumber            said        Substitute         Real         Property         and

forever      release       said       Substitute             Real     Property              to        Dwight

Faulk,      any    heirs   or     assigns,         creditors,             purchasers         or        other

innocent third parties.

       4.     All    parties         are     otherwise         ordered           to     comply         with

the    terms of said Stipulation for Compromise Settlement.

       5.     Faulk       is    to    be    given       credit       by    the        United      States

for    any   monies       received         in     consideration            for    the       Compromise

Settlement or any other funds or monies                               collected from Faulk

and applied on said judgment.

       6.     Each    party          is    to     bear       their        own     costs          of    this

proceeding.



                                                   2
Case 2:01-cr-00106-MHT-SRW Document 495 Filed 09/15/05 Page 3 of 3




 7. All other, procedural motions are denied as moot.

 DONE, this the 15th day of September, 2005.


                                 /s/ Myron H. Thompson
                              UNITED STATES DISTRICT JUDGE
